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                   IN THE UNITED STATES DISTRICT COURT
                      EASTERN DISTRICT OF ARKANSAS
                            WESTERN DIVISION


UNITED STATES OF AMERICA                )
                                        )
Vs.                                     )       Case No. 4:05CR00307-01 JM
                                        )
                                        )
AMOS COLEMAN                            )

                            ENTRY OF APPEARANCE

TO THE CLERK OF THIS COURT AND ALL PARTIES OF RECORD:

      The undersigned, Kim Driggers, hereby enters her appearance as counsel in this

case for the Defendant, Amos Coleman.

                                               JENNIFFER HORAN
                                               FEDERAL DEFENDER


                                        By:    /s/Kim Driggers
                                               Bar Number 2005249
                                               Kim Driggers
                                               Assistant Federal Defender
                                               The Victory Building, Suite 490
                                               1401 West Capitol Avenue
                                               Little Rock, AR 72201
                                               (501) 324-6113
                                               E-mail: kim.driggers@fd.org

                                        For:   Amos Coleman, Defendant
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                             CERTIFICATE OF SERVICE

       I hereby certify that on this 18th day of April, 2016, a true and correct copy of the
foregoing was mailed to the Defendant, and was electronically filed with the Clerk of the
Court using the CM/ECF system, which shall send notification to the following:

John Ray White
Assistant United States Attorney
P.O. Box 1229
Little Rock, AR 72203
E-mail: John.White2@usdoj.gov



                                                 /s/ Kim Driggers
                                                 Kim Driggers
